      Case 1:16-cr-00053-SPW Document 166 Filed 09/19/17 Page 1 of 1


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                                                                    Distr;C, d/~trict Court
                                                                          Biltingsontana
              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION


UNITED STATES OF AMERICA,                     CR-16-53-BLG-SPW-2
                  Plaintiff,

vs.                                      ORDER GRANTING UNOPPOSED
                                          MOTION FOR LEAVE TO FILE
ALFONSO BANDERAS-                           MOTION TO CONTINUE
MARTINEZ,                                  SENTENCING UNDER SEAL
                 Defendant.




        Upon Defendant's Motion for Leave to File Motion to Continue

Sentencing Under Seal (Doc. 164), and for good cause appearing,

        IT IS HEREBY ORDERED that Defendant's Unopposed Motion to

Continue Sentencing and Deadline for Sentencing Memoranda Under Seal is

GRANTED. Defendant's Motion to Continue Sentencing is filed under

seal.
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        DATED this    /Y day of September, 2017.

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